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 1                                                                       The Honorable Robert J. Bryan

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 8
                           UNITED STATES DISTRICT COURT
 9                        WESTERN DISTRICT OF WASHINGTON
                                    AT TACOMA
10
     CHAO CHEN, individually and on behalf of
11
     all those similarly situated,                      No. 3:17-cv-05769-RJB
12
                                      Plaintiff,        DECLARATION OF JAMAL
13                                                      WHITEHEAD IN SUPPORT OF
            v.                                          PLAINTIFF’S OPPOSITION TO
14                                                      DEFENDANT’S MOTION FOR
15   THE GEO GROUP, INC., a Florida                     RELIEF FROM DEADLINE
     corporation,
16
                                    Defendant.
17

18          I, JAMAL N. WHITEHEAD, declare as follows:
19
            1.      I am one of the attorneys of record for Plaintiff Chao Chen in the above-
20
     captioned matter. I am over the age of eighteen, competent to testify in this matter, and do so
21
     based on personal knowledge.
22

23          2.      On January 29, 2018, Mr. Chen responded to Defendant The GEO Group,

24   Inc.’s First Interrogatories and Requests for Production, which included over 20

25   interrogatories and 40 requests for production. In the course of Mr. Chen’s responses, he
26
     produced over 250 pages of documents.


     W HITEH EAD D E CL.  1                               SCHROETER GOLDMARK & BENDER
                                                           500 Central Building ● 810 Third Avenue ● Seattle, WA 98104
     (17-CV-05769-RJB)                                             Phone (206) 622-8000 ● Fax (206) 682-2305
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 1             3.     Mr. Chen served GEO with discovery requests on January 31, 2018, seeking

 2   information about the putative class and GEO’s policies and practices in administering the
 3
     Voluntary Work Program (“VWP”). GEO answered these requests on March 2, 2018, but
 4
     provided little information and zero documents in return. The parties held a telephone
 5
     conference on March 13, 2018, to discuss GEO’s failure to respond to Mr. Chen’s class-
 6
     focused discovery and the looming deadline for seeking class certification among other
 7

 8   things.

 9             4.     On March 13, 2018, I received a letter via email from Charles Deacon,
10   counsel for GEO, stating as follows:
11
               Please provide us with dates where Chao Chen, Kitlee Chen, Amy Chen
12             and Mary Ann Chen are available for their depositions. We will need a full
               day for the deposition of Chao Chen and we request his deposition be
13             completed first. Depending on how much information the three identified
               family members have, we may be able to complete those depositions in
14             one day. However, the witnesses will not be allowed to sit in on the
15             depositions of the other witnesses or that of Chao Chen.

16             5.     On April 4, 2018, Joan Mell called me to propose a stipulation between the

17   parties in which GEO was permitted additional time to file its opposition to Mr. Chen’s
18   motion for class certification. I declined her offer during our call, and again in a follow-up
19
     letter the next day.
20
               I declare under penalty of perjury under the laws of the United States that the
21
     foregoing is true and correct and based on my personal knowledge.
22

23
               Executed in Seattle, Washington, this 11th day of April, 2018.
24

25                                                      s/ Jamal N. Whitehead
                                                        Jamal N. Whitehead, WSBA #39818
26



     W HITEH EAD D E CL.  2                                 SCHROETER GOLDMARK & BENDER
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           Case 3:17-cv-05769-RJB Document 57 Filed 04/11/18 Page 3 of 3




 1                                CERTIFICATE OF SERVICE

 2          I hereby certify that on April 11, 2018, I electronically filed the foregoing with the

 3   Clerk of the Court using the CM/ECF system, which will send notification of such filing to

 4   the following:

 5
     Devin T. Theriot-Orr, WSBA # 33995          R. Andrew Free
 6   SUNBIRD LAW, PLLC                           THE LAW OFFICE OF R. ANDREW FREE
     1001 Fourth Avenue, Suite 3200              Admitted Pro Hac Vice
 7
     Seattle, WA 98154-1003                      PO Box 90568
 8   Tel: (206) 962-5052                         Nashville, TN 37209
     devin@sunbird.law                           Tel: (844) 321-3221
 9                                               andrew@immigrantcivilrights.com
     Counsel for Plaintiff
10                                               Counsel for Plaintiff
11
     Joan K. Mell                                Mark Emery
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     1019 Regents Boulevard, Suite 204           799 9th Street, Suite 1000
13   Fircrest, WA 98466                          Washington, D.C. 20001
     Tel: (253) 566-2510                         Mark.emery@nortonrosefulbright.com
14   joan@3ebrancheslaw.com
                                                 Attorney for Defendant
15
     Attorney for Defendant
16
     Andrea D’Ambra                              Charles A. Deacon
17   NORTON ROSE FULBRIGHT US LLP                NORTON ROSE FULBRIGHT US LLP
     1301 Avenue of the Americas                 300 Covent St.
18   New York, NY 10019                          San Antonio, TX 78205
19   andrea.dambra@nortonrosefulbright.com       Charles.deacon@nortonrosefulbright.com

20   Attorney for Defendant                      Attorney for Defendant

21          DATED at Seattle, Washington this 11th day of April, 2018.
22                                                   s/ Sheila Cronan
23                                                   Sheila Cronan
                                                     Paralegal
24                                                   Schroeter Goldmark & Bender
                                                     810 Third Avenue, Suite 500
25                                                   Seattle, WA 98104
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